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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

SHAENA GERALD, individually and on                )
behalf of all others similarly situated,          )
                                                  )
               Plaintiff,                         )     Case No. 15-cv-11123
                                                  )
       v.                                         )     JURY TRIAL DEMANDED
                                                  )
DOORDASH,          INC.,      a     Delaware      )
corporation,                                      )
                                                  )
               Defendant.                         )

                                   CLASS ACTION COMPLAINT

       Plaintiff Shaena Gerald (“Plaintiff”) brings this Class Action Complaint against

Defendant DoorDash, Inc. (“DoorDash”), on behalf of herself and all others similarly situated,

and complains and alleges upon personal knowledge as to herself and her own acts and

experiences, and, as to all other matters, upon information and belief, including investigation

conducted by her attorneys.

                              I.    NATURE OF THE ACTION

       1.      DoorDash is an on-demand delivery service. DoorDash’s customers order meals

from local merchants, and DoorDash delivers the orders to the customers. DoorDash solicits

individuals to become the persons who deliver the ordered meals, known as “Dashers.”

       2.      In an effort to solicit individuals to become Dashers, DoorDash sent, or directed

to be sent on its behalf, unsolicited text messages to the wireless telephones of Plaintiff and each

of the members of the Class without prior express consent in violation of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”).
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        3.     In order to redress these injuries, Plaintiff seeks: (a) an injunction requiring

DoorDash to cease all of its unsolicited text message activities; (b) an award of statutory

damages to the Class members under the TCPA; and (c) costs and reasonable attorneys’ fees.

                           II.   JURISDICTION AND VENUE

Subject Matter Jurisdiction

        4.     This Court has subject matter jurisdiction over this action, pursuant to 28 U.S.C. §

1331, because it arises under the laws of the United States.

Personal Jurisdiction

        5.     This Court has personal jurisdiction over DoorDash, pursuant to the Illinois long-

arm statute, 735 ILCS 5/2-209, because a substantial portion of the wrongdoing alleged in this

Complaint took place in or was directed toward the State of Illinois. DoorDash, by sending mass

text messages into this State soliciting business, has sufficient contacts in this State to render the

exercise of jurisdiction by this Court permissible.

Venue

        6.     Venue is proper in this District, pursuant to 28 U.S.C. § 1391(b)(2), because a

substantial part of the events giving rise to the claims occurred in this District.

                                      III.    PARTIES

Plaintiff

        7.     Plaintiff is an individual domiciled in Cook County, Illinois.

Defendant

        8.     DoorDash is a corporation organized in and existing under the laws of the State of

Delaware with its principal place of business located at 565 Stanford Avenue, Palo Alto,

California 94306.




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                            IV.   FACTUAL BACKGROUND

Background on Unsolicited SMS Activity

       9.      In recent years, companies who have often felt stymied by federal laws limiting

solicitation by telephone, fax machine, and e-mail have increasingly looked to alternative

technologies through which to send bulk solicitations cheaply.

       10.     One of the most prevalent alternatives is bulk advertising through so-called Short

Message Services. “Short Message Services” or “SMS” is a messaging system that allows for the

transmission and receipt of short text messages (usually no more than 160 characters) to and

from wireless telephones.

       11.     SMS messages are directed to a wireless device using the telephone number

assigned to the device. When an SMS message is successfully made, the recipient’s wireless

phone rings, alerting him or her that a message is being received. As wireless telephones are

inherently mobile and are frequently carried on their owner’s person, SMS messages may be

received by the called party virtually anywhere in the world.

       12.     According to a recent study conducted by the Pew Research Center, “Spam isn’t

just for email anymore; it comes in the form of unwanted text messages of all kinds—from

coupons to phishing schemes—sent directly to user’s cell phones.”1 In fact, “57% of adults with

cell phones have received unwanted or spam text messages on their phone.”2

       13.     Unlike more conventional advertisements, SMS message advertisements can

actually cost their recipients money because wireless phone users must pay their wireless service



       1
          Amanda Lenhart, Cell Phones and American Adults: They Make Just as Many Calls,
but       Text    Less      than      Teens,     Pew     Research      Center      (2010),
http://www.pewinternet.org/Reports/2010/Cell-Phones-and-American-Adults.aspx (last visited
Aug. 4, 2015).
        2
          Id.


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providers either for each text message they receive, or incur a usage allocation deduction to their

text messaging plan, regardless of whether the message is authorized.

       14.     On July 10, 2015, the Federal Communications Commission issued a Declaratory

Ruling that further acknowledged the “costly” and “particularly intrusive” nature of unwanted

text messages, stating that “Month after month, unwanted robocalls and texts, both telemarketing

and informational, top the list of consumer complaints received by the Commission.”3

Defendant’s Unsolicited SMS Message to Plaintiff

       15.     DoorDash encourages individuals to become Dashers, who deliver meal-orders to

DoorDash customers.

       16.     In 2015, Plaintiff began the sign-up process to become a Dasher.

       17.     As part of the application process, Plaintiff was required to fill-in a box with her

wireless phone number, as illustrated below:




       3
         See In the Matter of Rules and Regulations Implementing the Telephone Consumer
Protection Act of 1991, Declaratory Ruling and Order, CG Docket No. 02-278, ¶1 (FCC July
10, 2015).


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       18.     Plaintiff did not make her wireless phone number available for DoorDash to send

text messages to her wireless phone.

       19.     Plaintiff did not desire DoorDash to send text messages to her wireless phone.

       20.     Plaintiff did not complete the application process and did not submit the

application.

       21.     Plaintiff did not provide prior express consent to receive automated text messages

to her wireless phone at any point during the application process.

       22.     Nevertheless, as part of its effort to recruit Dashers, DoorDash sent and continues

to send unsolicited text messages to Plaintiff’s and the Class members’ wireless phones without

prior express consent.

       23.     On or about November 22, 2015, DoorDash sent the following two text messages

to Plaintiff’s wireless phone:




       24.     The “from” field of the transmissions was identified as “(650) 450-4940.”

       25.     DoorDash uses the number (650) 450-4940 to send automated text messages.


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       26.     Accordingly, DoorDash designed a recruitment plan to send text messages to

individuals who began an application to become a Dasher, even though the individuals never

completed and submitted their applications.

                             V.    CLASS ALLEGATIONS

       27.     Plaintiff brings this action, as set forth below, on behalf of herself and as a class

action pursuant to the provisions of Rules 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil

Procedure on behalf of a class defined as:

               All individuals in the United States to whom Defendant DoorDash,
               Inc. sent a non-emergency, unsolicited text message to the
               individuals’ wireless telephones, through the use of an automatic
               dialing system, at any time within the four years prior to the filing
               of the instant action (the “Class”).

Excluded from the Class are DoorDash and its subsidiaries and affiliates; all persons who make a

timely election to be excluded from the Class; governmental entities; and the judge to whom this

case is assigned and any immediate family members thereof.

       28.     Certification of Plaintiff’s claims for class-wide treatment is appropriate because

Plaintiff can prove the elements of her claims on a class-wide basis using the same evidence as

would be used to prove those elements in individual actions alleging the same claims.

       29.     Numerosity – Federal Rule of Civil Procedure 23(a)(1). The members of the

Class are so numerous that individual joinder of all Class members is impracticable.            On

information and belief, there are thousands of consumers who have been damaged by

DoorDash’s wrongful conduct as alleged herein. The precise number of Class members and

their addresses is presently unknown to Plaintiff, but may be ascertained from DoorDash’s books

and records. Class members may be notified of the pendency of this action by recognized,




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Court-approved notice dissemination methods, which may include U.S. mail, electronic mail,

Internet postings, and/or published notice.

       30.     Commonality and Predominance – Federal Rule of Civil Procedure 23(a)(2)

and 23(b)(3). This action involves common questions of law and fact, which predominate over

any questions affecting individual Class members, including, without limitation:

       a.      Whether the equipment DoorDash used to send the text messages in question was
               an automatic telephone dialing system as contemplated by the TCPA;

       b.      The manner in which DoorDash compiled its list of wireless telephone numbers,
               including Plaintiff’s;

       c.      Whether DoorDash sends text messages to individuals, even though they did not
               complete and submit applications to become a Dasher;

       d.      Whether DoorDash’s conduct constitutes a violation of the TCPA;

       e.      Whether Plaintiff and the Class are entitled to actual, statutory, or other forms of
               damages, and other monetary relief, and in what amount(s);

       f.      Whether Plaintiff and the Class are entitled to treble damages based on the
               willfulness of DoorDash’s conduct; and

       g.      Whether Plaintiff and the Class are entitled to equitable relief, including but not
               limited to injunctive relief and restitution.

       31.     Typicality – Federal Rule of Civil Procedure 23(a)(3). Plaintiff’s claim is

typical of the other Class members’ claims because, among other things, all Class members were

comparably injured through the uniform prohibited conduct described above.

       32.     Adequacy of Representation – Federal Rule of Civil Procedure 23(a)(4).

Plaintiff is an adequate representative of the Class because her interests do not conflict with the

interests of the other Class members she seeks to represent; she has retained counsel competent

and experienced in complex commercial and class action litigation; and Plaintiff intends to




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prosecute this action vigorously. The interests of the Class members will be fairly and adequately

protected by Plaintiff and her counsel.

       33.     Declaratory and Injunctive Relief – Federal Rule of Civil Procedure 23(b)(2).

DoorDash has acted or refused to act on grounds generally applicable to Plaintiff and the other

Class members, thereby making appropriate final injunctive relief and declaratory relief, as

described below, with respect to the Class as a whole.

       34.     Superiority – Federal Rule of Civil Procedure 23(b)(3). A class action is

superior to any other available means for the fair and efficient adjudication of this controversy,

and no unusual difficulties are likely to be encountered in the management of this class action.

The damages or other financial detriment suffered by Plaintiff and the other Class members are

relatively small compared to the burden and expense that would be required to individually

litigate their claims against DoorDash, so it would be impracticable for Class members to

individually seek redress for DoorDash’s wrongful conduct. Even if Class members could afford

individual litigation, the court system could not. Individualized litigation creates a potential for

inconsistent or contradictory judgments, and increases the delay and expense to all parties and

the court system. By contrast, the class action device presents far fewer management difficulties,

and provides the benefits of single adjudication, economy of scale, and comprehensive

supervision by a single court.




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                               VI.      CLAIMS ALLEGED

                                            COUNT I
                             Violation of the TCPA, 47 U.S.C. § 227
                                     (On behalf of the Class)

          35.   Plaintiff incorporates by reference the foregoing paragraphs as if fully set forth

herein.

          36.   DoorDash sent unsolicited text messages to the wireless telephone numbers of

Plaintiff and the other Class members en masse without their prior express consent.

          37.   DoorDash sent the text messages, or had them sent on its behalf, using equipment

that had the capacity to store or produce telephone numbers to be called using a random or

sequential number generator, and to dial such numbers.

          38.   DoorDash utilized equipment that sent the text messages to Plaintiff and other

Class members simultaneously and without human intervention.

          39.   By sending the unsolicited text messages to Plaintiff and the Class, DoorDash has

violated 47 U.S.C. § 227(b)(1)(A)(iii). As a result of DoorDash’s unlawful conduct, the Class

members suffered actual damages in the form of monies paid to receive the unsolicited text

messages on their wireless phones and, under section 227(b)(3)(B), are each entitled to, inter

alia, a minimum of $500.00 in damages for each such violation of the TCPA.

          40.   Should the Court determine that DoorDash’s conduct was willful or knowing, the

Court may, pursuant to section 227(b)(3)(C), treble the amount of statutory damages recoverable

by Plaintiff and the other Class members.

                                 VII.    JURY DEMAND

          41.   Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by

jury of all claims in this Complaint so triable.




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                             VIII.    REQUEST FOR RELIEF

          WHEREFORE, Plaintiff Shaena Gerald, individually and on behalf of the Class, requests

that the Court enter an Order as follows:

          A.      Certifying the Class as defined above, appointing Plaintiff Shaena Gerald as the
                  representative of the Class, and appointing her counsel as Class Counsel;

          B.      Awarding statutory damages;

          C.      Requiring DoorDash to cease all text message activities initiated without prior
                  express consent, and otherwise protecting the interests of the Class;

          D.      Awarding of reasonable attorneys’ fees and costs; and

          E.      Awarding such other and further relief that the Court deems reasonable and just.



Dated: December 14, 2015                                       Respectfully submitted,

                                                               By: s/ Joseph J. Siprut               .

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